                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             WESTERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                        Plaintiff,          )
                                            )
v.                                          )       Case No. 4:22-CR-00080-BCW
                                            )
                                            )
ALONZO MILLER,                              )
                                            )
                        Defendant.          )

                                            ORDER

       Before the Court is Magistrate Judge Morris’s Report and Recommendation (Doc. #46)

denying Defendant’s motion to dismiss the felon in possession charge under 18 U.S.C. § 922(g)(1).

(Doc. #23).

       On August 4, 2023, Defendant filed its motion to dismiss. (Doc. #23). On August 18, 2023,

the Government filed its suggestions in opposition (Doc. #24), and Defendant replied on

September 1, 2023. (Doc. #27). On October 25, 2023, Judge Morris issued the instant Report and

Recommendation denying Defendant’s motion. (Doc. #46). On November 8, 2023, Defendant

filed objections to the Report and Recommendation (Doc. #48).

       After an independent review of the record, the applicable law, and the parties’ arguments,

the Court adopts Magistrate Judge Morris’s legal analysis and conclusions of law. Accordingly, it

is hereby

       ORDERED for the reasons stated in the Report and Recommendation (Doc. #46),

Defendant’s motion to dismiss the felon in possession under 18 U.S.C. § 922(g)(1) (Doc. #23) is

DENIED. It is further




                                                1

       Case 4:22-cr-00080-BCW          Document 55       Filed 12/01/23     Page 1 of 2
       ORDERED that Magistrate Judge Morris’s Report and Recommendation be attached to

and made part of this Order.

       IT IS SO ORDERED.


DATED: December 1, 2023                       /s/ Brian C. Wimes
                                              JUDGE BRIAN C. WIMES
                                              UNITED STATES DISTRICT COURT




                                          2

       Case 4:22-cr-00080-BCW      Document 55     Filed 12/01/23   Page 2 of 2
